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AO 245B (Rev. 10/15) Judgment in a Criminal Case
                                                                                                                         FILED
                                                                                                                      U.S. DISTRICT COURT
                     Sheet 1                                                                                      EASTERN DISTRICT ARKANSAS



                                           UNITED STATES DISTRICT Co~rMES                                                                        RK
                                                              Eastern District of Arkansas          By:_-1-,41,1-1-+--++.~~~i7
                                                                           )
              UNITED STATES OF AMERICA                                     )
                                   v.                                      )
                  JASON SCOTT QUINTANILLA                                  )
                                                                           )      Case Number: 4:14CR00105-02 BSM
                                                                           )      USM Number: 28811-009
                                                                           )
                                                                           )       Jack R. Kearney
                                                                          )       Defendant's Attorney
THE DEFENDANT:
~pleaded guilty to count(s)             1 of the Indictment

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended
 18 USC§ 371                       Conspiracy to Pass Counterfeit Securities, Class D Felony                 11/27/2012




       The defendant is sentenced as provided in pages 2 through         -~-- of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

D Count(s)                                               Dis       Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          7/21/2016




                                                                         Signature of Judge




                                                                          BRIANS. MILLER, UNITED STATES DISTRICT JUDGE
                                                                         Name and Title of Judge


                                                                                  / - ? \.a -- I lo
                                                                         Date
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AO 2458 (Rev. 10/15) Judgment in Criminal Case
                       Sheet 2 - Imprisonment
                                                                                                   Judgment - Page   -=2- of   6
 DEFENDANT: JASON SCOIT QUINTANILLA
 CASE NUMBER: 4:14CR00105-02 BSM

                                                          IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:
  TWENTY-FIVE (25) MONTHS WITH CREDIT FOR TIME SERVED ON FEDERAL DETAINER BEGINNING DECEMBER 23,
  2014.



     Ill The court makes the following recommendations to the Bureau of Prisons:

  Quintanilla shall participate in non-residential substance abuse treatment, mental health counseling, and educational and
  vocational programs during incarceration. Quintanilla shall serve his term of imprisonment at FCI Bastrop Texas, or
  Texarkana, Texas

     Ill The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
          D at      ---------
                                                 D a.m.      D p.m.      on

          D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                       to

 a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL



                                                                        By - - - - - - - - - - - - - - - - - - - - - -
                                                                                            DEPUTY UNITED STATES MARSHAL
                         Case 4:14-cr-00105-BSM                  Document 74            Filed 07/26/16            Page 3 of 6

AO 245B (Rev. 10/15) Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                                             3_
                                                                                                             Judgment-Page _ _       of         6
 DEFENDANT: JASON SCOTT QUINTANILLA
 CASE NUMBER: 4:14CR00105-02 BSM
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 THREE (3) YEARS

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
 thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D        as direc~ed by the probation offi~er, the Bureal} of Prisons, or any state sex offender registration agency in which he or she resides,
          works, IS a student, or was convicted of a quahfymg offense. (Check, if applicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any 2ersons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observea in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
            record or Rersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.
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AO 245B (Rev. 10/15) Judgment in a Criminal Case
        Sheet 3C - Supervised Release
                                                                                               Judgment-Page   _4-'--- of         6
DEFENDANT: JASON SCOlT QUINTANILLA
CASE NUMBER: 4:14CR00105-02 BSM

                                          SPECIAL CONDITIONS OF SUPERVISION
 1. Quintanilla shall participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. Further, Quintanilla shall
 abstain from the use of alcohol throughout the course of treatment.

 2. Pursuant to the Mandatory Victims Restitution Act of 1996, Quintanilla is ordered to pay restitution in the amount of
 $439,295.83 to the U.S. District Clerk. Restitution will be disbursed to the list of victims provided by the U.S. Attorney's
 Office. Restitution is due immediately and any unpaid balance will be payable during incarceration. During incarceration,
 Quintanilla will pay 50 percent per month of all funds that are available to him. During residential re-entry placement,
 payments will be 1O percent of Quintanilla's gross monthly income. Beginning the first month of supervised release,
 payments will be 10 percent of Quintanilla's gross monthly income. Restitution will be joint and several with any other
 person who has been or will be convicted on an offense for which restitution to the same victim on the same loss is
 ordered. Interest is waived.

 4. Quintanilla will disclose business and personal information including all assets (including unexpected financial gains)
 and liabilities to the probation office. Quintanilla will not transfer, sell, give away, or otherwise convey any asset without
 approval from the probation office.
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AO 245B (Rev. 10/15) Judgment in a Criminal Case
         Sheet 5 - Criminal Monetary Penalties
                                                                                                             Judgment - Page __5~- of        6
 DEFENDANT: JASON SCOTT QUINTANILLA
 CASE NUMBER: 4:14CR00105-02 BSM
                                                   CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                         Fine                                    Restitution
 TOTALS              $   100.00                                         $    0.00                               $    439,295.83


 D The determination of restitution is deferred until - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

el The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
       If the defendant makes a partial payment, each payee shall receive an approximate!~ proportioned payment, unless specified otherwise in
       the priority or?er or perc~ntage payment column below. However, pursuant to I 8 U.S.C. § 3664(i), all nonfederal victims must be paid
       before the Umted States is paid.

   Name of Payee                                                              Total Loss*          Restitution Ordered Priority or Percentage
     see attached list                                                                                        $439,295.83




TOTALS                                $                         0.00           $                439,295.83
                                                                                   ----------

 D      Restitution amount ordered pursuant to plea agreement $

 D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(±). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 Ill    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        IZJ   the interest requirement is waived for the       D fine       Ill restitution.
        D the interest requirement for the          D   fine    D      restitution is modified as follows:

 * Findings for the total amount oflosses are required under Chapters 109A, I I 0, I I OA, and l l 3A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                        Case 4:14-cr-00105-BSM                    Document 74              Filed 07/26/16            Page 6 of 6
AO 245B (Rev. 10/15) Judgment in a Criminal Case
        Sheet 6- Schedule of Payments

                                                                                                                Judgment - Page              of
 DEFENDANT: JASON SCOTT QUINTANILLA
 CASE NUMBER: 4:14CR00105-02 BSM

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     IZI   Lump sum payment of$ _1_0_0_.0_0_ _ __ due immediately, balance due

             D      not later than _ _ _ _ _ _ _ _ __                , or
             i;zi   in accordance      D C, D D,     D                E, or      1J1 F below; or
 B     D     Payment to begin immediately (may be combined with               D C,         DD, or       D F below); or

C      D     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D      D     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E      D     Payment during the term of supervised release will commence within                 (e.g.. 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     IZI    Special instructions regarding the payment of criminal monetary penalties:
              During incarceration, Quintanilla will pay 50 percent per month of all funds that are available to him. During
              residential re-entry placement, payments will be 10 percent of Quintanilla's gross monthly income. Beginning the
              first month of supervised release, payments will be 10 percent of Quintanilla's gross monthly income. Restitution
              will be joint and several with any other person who has been or will be convicted on an offense for which restitution
              to the same loss is ordered. Interest is waived.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made througn the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



Ill   Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.

        4:14cr00105-01 John Michael Chapa and 4:14cr00105-02 Jason Scott Quintanilla




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
